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                    UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MAINE

MAINE PRESS ASSOCIATION AND MAINE    )
ASSOCIATION OF BROADCASTERS,         )
                                     )
                      Plaintiffs,    )
                                     )
v.                                   )
                                     )
MAINE COMMISSION ON GOVERNMENTAL )
ETHICS AND ELECTION PRACTICES, DAVID )         Civil Action No. ___________
R. HASTINGS III, SARAH E. LECLAIRE,  )
DENNIS MARBLE, STACEY D. NEUMANN,    )
AND WILLIAM J. SCHNEIDER, IN THEIR   )
CAPACITY AS MEMBERS OF THE           )
COMMISSION; AND AARON FREY, IN HIS   )
CAPACITY AS ATTORNEY GENERAL,        )
                                     )
                      Defendants.    )



     PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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       Plaintiffs Maine Press Association and Maine Association of Broadcasters (the “Media

Plaintiffs”) move for a preliminary injunction on the ground that the Act to Prohibit Campaign

Spending by Foreign Governments and Promote an Anticorruption Amendment to the United

States Constitution, 21-A M.R.S. § 1064 (the “Act”), violates their rights under the First and

Fourteenth Amendments to the United States Constitution.

                                  FACTUAL BACKGROUND

       Under the Act, a foreign government or “foreign government-influenced entity” may not

spend money to influence a Maine election. A “foreign government-influenced entity” is an

entity with respect to which a foreign government (or another foreign government-influenced

entity) either (1) has an ownership stake of five percent or more, or (2) directly or indirectly

participates in decision-making about the entity’s efforts to influence Maine elections and

referenda. Id. § 1064(1)(E).

       In addition to regulating political advertisers, the Act enlists news outlets that run

political ads to enforce its prohibition against campaign expenditures by foreign government-

influenced entities. This is done in subsection 7, which requires that Maine news outlets that

publish political ads “establish due diligence policies, procedures and controls that are

reasonably designed to ensure” that they do not run ads that were paid for by a foreign

government-influenced entity. Id. § 1064(7). The Act does not explain what “due diligence

policies, procedures and controls” means.

       Subsection 7 further requires that if “an Internet platform discovers” that it has run a

political ad in violation of the Act it “shall immediately remove the communication and notify

the [Commission on Governmental Ethics and Election Practices].” 21-A M.R.S. § 1064(7).

Under subsection 8, in the event of a violation the Commission may assess penalties of up to



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$5,000 or double the amount of the expenditures, whichever is greater, even if the violator is not

at fault for the violation. 21-A M.R.S. § 1064(8).

                                            ARGUMENT

         In ruling on a motion for preliminary injunction the Court considers “(i) the movant’s

likelihood of success on the merits of its claims; (ii) whether and to what extent the movant will

suffer irreparable harm if the injunction is withheld; (iii) the balance of hardships as between the

parties; and (iv) the effect, if any, that an injunction (or the withholding of one) may have on the

public interest.” Corp. Techs., Inc. v. Harnett, 731 F.3d 6, 9 (1st Cir. 2013). “But the four factors

are not entitled to equal weight in the decisional calculus; rather, [l]ikelihood of success is the

main bearing wall of the four-factor framework.” Id. at 9–10 (quotation marks omitted).

I.       The Media Plaintiffs are likely to succeed on the merits of their claims.

         A. Subsection 7 is unconstitutionally vague.

         “It is a basic principle of due process that an enactment is void for vagueness if its

prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104, 108 (1972).

“[I]f arbitrary and discriminatory enforcement is to be prevented, laws must provide explicit

standards for those who apply them.” Id. “In prohibiting overly vague laws, the doctrine seeks to

ensure that persons of ordinary intelligence have fair warning of what a law prohibits” and to

“prevent arbitrary and discriminatory enforcement of laws by requiring that they provide explicit

standards for those who apply them . . . .” Nat’l Org. for Marriage v. McKee, 649 F.3d 34, 62

(1st Cir. 2011) (quotation marks omitted). “Where First Amendment rights are involved, an even

greater degree of specificity is required.” Buckley v. Valeo, 424 U.S. 1, 77 (1976) (quotation

marks omitted). That is because “where a vague statute abut(s) upon sensitive areas of basic First

Amendment freedoms, it operates to inhibit the exercise of (those) freedoms.” Grayned, 408 U.S.



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at 109 (quotation marks and footnote omitted). “Uncertain meanings inevitably lead citizens to

steer far wider of the unlawful zone . . . than if the boundaries of the forbidden areas were clearly

marked.” Id. (quotation marks omitted).

       A law that “limits or conditions in advance the exercise of protected First Amendment

activity” is analyzed as a prior restraint. A prior restraint on expression is subject to a heightened

standard of precision: such restraints “have to contain ‘narrow, objective, and definite standards’

to guide” decisions to approve or reject speech. Asociacion de Educacion Privada de Puerto

Rico, Inc. v. Garcia-Padilla, 490 F.3d 1, 20 n.15 (1st Cir. 2007) (quoting Forsyth Cnty., Ga. v.

Nationalist Movement, 505 U.S. 123, 131 (1992)). As detailed below, the Act is a prior restraint

because it requires that foreign government-influenced political advertisements be screened out

and censored before they are published, and although news outlets rather than the government

are charged with doing the screening and censoring, the State cannot commandeer third parties to

do for it what the State cannot constitutionally do itself. To pass constitutional muster the Act’s

standards therefore must be narrow, objective, and definite. Garcia-Padilla, 490 F.3d at 20 n.15.

       Key provisions of subsection 7 are unconstitutionally vague. Because the terms are not

defined, the Media Plaintiffs are left to guess at the meaning of the phrase “due diligence

policies, procedures and controls,” or how they would go about complying with that requirement

or ascertaining whether they had succeeded in doing so. See Decl. of Jody Jalbert (Ex. A) ¶¶ 10–

13; Decl. of Judith Meyer (Ex. B) ¶¶ 12–15; Decl. of Timothy Moore (Ex. C) ¶¶ 9–14; Decl. of

Courtney Spencer (Ex. D) ¶¶ 11–14. Are news outlets required to hire investigators and

attorneys to determine who owns and influences every prospective political advertiser? How

extensive must their investigation be? What standards should guide it? What investigative steps

must be taken? What are “policies, procedures and controls,” and what is the difference between



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these things? The Act makes none of this at all clear. As the Media Plaintiffs have never used

policies, procedures, or controls to determine whether advertisers are “foreign government-

influenced,” and are unaware of any news outlets that have done so, there is no known precedent

for news outlets to look to in construing subsection 7. “[D]ue diligence policies, procedures and

controls” is not a term of art in the news business, and in the absence of a definition the Media

Plaintiffs have no idea what it means. Because this crucial provision of subsection 7 is

inscrutable, the Media Plaintiffs do not know what they have to do to avoid being fined under

subsection 8. The upshot is that the Act forces new outlets to “steer far wide[] of the unlawful

zone,” Grayned, 408 U.S. at 109, and incentivizes them to stop running political ads altogether.

       Because subsection 7 does not establish a narrow, objective and definite standard for

establishing “due diligences policies, procedures, and controls,” it is unconstitutional.

       B. Subsection 7’s burden on news outlets is unconstitutional and it fails strict
          scrutiny review.

       If subsection 7 is not unconstitutionally vague, it places an unconstitutional burden on

news outlets. If “due diligence policies, procedures and controls” means anything, the plain

import of the words would indicate that news outlets are required to conduct some form of

investigation into the global ownership structure of each prospective political advertiser before

publishing their speech. That is not something Maine news outlets can realistically do. And it is

not a burden the First Amendment permits the State to impose on the press. Lest there be any

doubt, the First Amendment applies to the publication of political advertisements. See, e.g.,

Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 570 (1995) (“[T]he

simple selection of a paid noncommercial advertisement for inclusion in a daily paper” is

“squarely within the core of First Amendment security . . . .”).




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               1. Subsection 7’s due diligence requirements impermissibly burden the
                  freedom of the press.

       This much is clear: the Act imposes a special burden on news organizations by requiring

them to conduct some sort of investigation into the ownership of, and the sources of influence

over, every political advertiser. That burden implicates the freedom of the press. See U.S. Const.

amend. I (“Congress shall make no law . . . abridging the freedom . . . of the press . . . .”). And

the burden imposed by the Act is a substantial one. Modern business entities often have complex

ownership structures that require extensive research, investigation, and legal training to uncover

and understand. Many businesses and organizations keep their ownership structure secret, or

obscure their true beneficial owners under layers of interrelated legal entities about which little

or no information is available to outsiders. To reasonably “ensure” that a political ad was not

paid for by a “foreign government-influenced entity,” if it is even possible to do so, would

require an extraordinary amount of work that news outlets have neither the personnel, the

expertise, nor the financial capacity to perform. See Decl. of David Abel (Ex. E) ¶¶ 6–10; Jalbert

Decl. ¶¶ 14–21; Meyer Decl. ¶¶ 17–25; Moore Decl. ¶¶ 15–23; Spencer Decl. ¶¶ 15–25.

       There is no list of “foreign government-influenced entities”—a term the Act invents—

that news outlets could consult. If required to expend their own resources to do what should be

the State’s job of enforcing the new rule against foreign government-influenced entities paying

for political ads, news outlets would seemingly have to hire and train new staff and retain outside

investigators and attorneys. This would divert scarce resources away from the core First

Amendment activity of reporting the news. Even if news outlets had unlimited personnel and

financial resources to do the massive amount of work that would be required to even begin to

attempt to figure out who owns or “indirectly participates in the decision-making process” of

every prospective political advertiser, it is unclear how it would be possible for a news outlet to


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reasonably “ensure” that it has not missed some owner or indirect decision-making participant.

We are aware of no other law in the United States that requires so much of the press before it can

exercise its basic First Amendment right to serve as a platform for political speech.

        The extent of what the Act demands is extraordinary. It does not just require news outlets

to determine whether a foreign government owns as little as five percent of an advertiser.

Instead, the Act defines a “foreign government-influenced entity” as either an entity five percent

or more of which is owned by a foreign government (or another foreign government-owned

entity), or an entity where a foreign government (or another foreign government-owned entity)

“[d]irects, dictates, controls or directly or indirectly participates in the decision-making process

with regard to the activities of the . . . entity to influence the nomination or election of a

candidate or the initiation or approval of a referendum . . . .” 21-A M.R.S. § 1064(1)(E). The Act

thus requires news outlets to ascertain, for every political advertiser, whether a foreign

government (or another foreign government-influenced entity), even if it has no ownership stake

in the advertiser, “indirectly participates in the decision-making process with regard to” the

advertiser’s activities. That is not a task news outlets can plausibly be expected to complete, or a

burden the State may constitutionally impose. See Time, Inc. v. Hill, 385 U.S. 374, 389 (1967)

(“We create a grave risk of serious impairment of the indispensable service of a free press in a

free society if we saddle the press with the impossible burden of verifying to a certainty the facts

associated in news articles with a person’s name, picture or portrait . . . .”); Braun v. Soldier of

Fortune Mag., Inc., 968 F.2d 1110, 1117 (11th Cir. 1992) (“[I]f state . . . law places too heavy a

burden on publishers with respect to the advertisements they print, the fear of liability might

impermissibly impose a form of self-censorship on publishers. Such a chilling effect would

compromise the First Amendment interest in commercial speech by depriving protected speech



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of a legitimate and recognized avenue of access to the public.”) (citation and quotation marks

omitted). Because it imposes substantial compliance burdens and costs, the Act is akin to a tax

on the press for publishing political speech, something the Supreme Court has never upheld. See

Arkansas Writers’ Project, Inc. v. Ragland, 481 U.S. 221, 234 (1987); Simon & Schuster, Inc. v.

Members of New York State Crime Victims Bd., 502 U.S. 105, 115 (1991) (“A statute is

presumptively inconsistent with the First Amendment if it imposes a financial burden on

speakers because of the content of their speech.”).

       By imposing substantial compliance burdens on news outlets that publish political speech

without a compelling justification (see below), the Act infringes the freedom of the press.

               2. Subsection 7 is not narrowly tailored to a compelling governmental
                  interest.

       Restrictions on speech that are “content-based” are subject to strict scrutiny. Id. at 506.

“A restriction that targets speech is content-based if it ‘applies to particular speech because of the

topic discussed or the idea or message expressed[.]’” Id. at 505 (quoting City of Austin, Tex. v.

Reagan Nat’l Advert. of Austin, LLC, 596 U.S. 61, 69 (2022)). The Act is content-based because

it specifically targets speech about political campaigns. See Washington Post v. McManus, 944

F.3d 506, 513 (4th Cir. 2019) (statute that “singles out one particular topic of speech—

campaign-related speech—for regulatory attention” was “a content-based regulation on speech”).

“[C]ontent-based laws are ‘presumptively unconstitutional.’” Id. (quoting Reed v. Town of

Gilbert, Ariz., 576 U.S. 155, 163 (2015)). And “content-based regulations that target political

speech are especially suspect.” Id.

       Strict scrutiny of content-based regulations of speech requires the government to

demonstrate “a compelling interest and . . . narrow[] tailor[ing] to achieve that interest.” Rideout

v. Gardner, 838 F.3d 65, 70 (1st Cir. 2016) (quotation marks omitted). In particular, “[n]arrow


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tailoring in the strict scrutiny context requires the statute to be ‘the least restrictive means among

available, effective alternatives.’” Id. (quoting Ashcroft v. Am. Civil Liberties Union, 542 U.S.

656, 666 (2004)).

          The problem the Act purports to identify and solve is foreign government-influenced

entities spending money to influence Maine elections. The Media Plaintiffs take no position on

whether there is a compelling governmental interest in banning spending by foreign government-

influenced entities to influence Maine elections.1 But if there is, there are more tailored and less

restrictive ways to address the issue. One option would be to impose disclosure obligations on

advertisers, requiring them to affirmatively disclose the extent of foreign government ownership

or participation in their decision-making. Another option would be to ban such expenditures as

the Act does, but penalize just the advertisers, not the news outlets. Or political advertisers could

be required to file with the State a certification attesting that they are not foreign government-

influenced and to make that certification available to news outlets. Or advertisers could be

required to certify directly to news outlets that they are not foreign government-influenced.

These approaches would be less restrictive in that they would impose less of a burden on news

outlets and would not substantially delay the running of political ads, as the due diligence

process required by subsection 7 often would. Spencer Decl. ¶ 14; Jalbert Decl. ¶ 13; see In re

Perry, 859 F.2d 1043, 1047 (1st Cir. 1988) (“Without question, the right to free speech includes

the right to timely speech on matters of current importance.”). The Media Plaintiffs do not

endorse these alternatives, and take no position at this time on whether they would be

constitutional, but offer them here as examples of less restrictive means the State could employ

to achieve its objectives.



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    This is an unsettled question. See Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 362 (2010).

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        If the State believes its interest in preventing foreign government-influenced entities from

spending money in Maine elections is so compelling that investigation, not just self-certification,

is necessary, the government could achieve that objective in a way that is less restrictive of the

Media Plaintiffs’ First Amendment rights by simply doing that investigative work itself.2 As a

practical matter this would be a much better way to achieve the Act’s objectives, as the State—

unlike news outlets, many of which are very small operations—has investigators and attorneys

who may know how to conduct the sort of work the Act appears to require. Having the State do

the investigating would also avoid the inconsistent interpretation and application of the Act that

would inevitably ensue if hundreds of Maine news outlets with varying resources were each to

conduct their own investigation. The impact of the Act if investigation and enforcement activities

were undertaken by each individual news outlets would be both overbroad (because some

domestic entities would be prevented from or delayed in engaging in political speech because a

news outlet could not ensure that they were not foreign government-influenced) and

underinclusive (because some foreign government-influenced entities would inevitably slip

through the rather large cracks in any plausible vetting process news outlets could establish). It

would be far less restrictive of First Amendment activities for the State to do (and pay for) this

investigative work itself, rather than commandeering under-resourced and unqualified news

outlets to do it for them. The outsourcing to news organizations of the job of investigating

whether advertisers are violating the Act is not the least restrictive way of dealing with the issue

of foreign government-influenced campaign expenditures. Nor is it narrowly tailored.

        Another way to see why subsection 7 unconstitutionally burdens protected speech is to

consider whether the State could do itself what subsection 7 enlists news outlets to do on the


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 The Media Plaintiffs would have First Amendment concerns with this approach, but it would be less
burdensome than forcing news outlets to undertake such investigations.

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State’s behalf. If the Act banned political ads that had not first been screened by the State for

foreign government influence, a successful action by the State for an injunction to enforce that

ban would amount to an unconstitutional prior restraint on speech. See Alexander v. United

States, 509 U.S. 544, 550 (1993) (“The term prior restraint is used to describe administrative and

judicial orders forbidding certain communications when issued in advance of the time that such

communications are to occur.”) (alterations and quotation marks omitted). When a “prior

restraint impinges upon the right of the press to communicate news and involves expression in

the form of pure speech—speech not connected with any conduct—the presumption of

unconstitutionality is virtually insurmountable.” Matter of Providence J. Co., 820 F.2d 1342,

1348 (1st Cir. 1986), opinion modified on reh’g, 820 F.2d 1354 (1st Cir. 1987). The government

bears the “heavy burden of showing justification for the imposition of such a restraint,”

Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 558 (1976), which must survive “the most

exacting scrutiny demanded by our First Amendment jurisprudence.” Sindi v. El-Moslimany, 896

F.3d 1, 32 (1st Cir. 2018).

       The Act amounts to a prior restraint because it requires news outlets to screen and censor

speech in advance of its publication, something the State itself could not constitutionally do. See

Auburn Police Union v. Carpenter, 8 F.3d 886, 903 (1st Cir. 1993) (“A prior restraint is a

government regulation that limits or conditions in advance the exercise of protected First

Amendment activity,” and a limitation on political speech imposed by the government may be

found unconstitutional unless it is “narrowly tailored, based upon a continuing course of

repetitive speech, and granted only after a final adjudication on the merits that the speech is

unprotected . . . .”). “[W]hen the onus is placed on platforms, we hazard giving government the

ability to accomplish indirectly via market manipulation what it cannot do through direct



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regulation—control the available channels for political discussion.” McManus, 944 F.3d at 517;

see also Lafortune v. City of Biddeford, No. 01-250-P-H, 2002 WL 823678, at *8 (D. Me. Apr.

30, 2002), report and recommendation adopted, 222 F.R.D. 218 (D. Me. 2004) (“Requiring a

written release from every person who is not a ‘public official’ whose name may be mentioned

during the broadcast of a local-access television program . . . imposed an unconstitutional prior

restraint on the plaintiff’s freedom of speech, by giving private individuals the effective power of

censorship.”). Subsection 7 contains none of the procedural safeguards the First Amendment

requires before speech may be restricted in advance of its utterance. See Freedman v. State of

Md., 380 U.S. 51, 58 (1965) (statutory censorship regime “avoids constitutional infirmity only if

it takes place under procedural safeguards designed to obviate the dangers of a censorship

system”); Vance v. Universal Amusement Co., 445 U.S. 308, 317 (1980) (nuisance statutes could

not be enforced against film exhibitors without “special safeguards”). The Act’s due diligence

scheme has no procedural safeguards to ensure that protected speech is not inadvertently banned.

Instead, news outlets that have neither the training nor the expertise to do so are required to make

ad hoc determinations about whether an advertiser is foreign government-influenced.

        Delegating to news outlets the power to ban political speech in advance of its publication,

with neither clear standards nor procedural safeguards to govern their exercise of that power,

cannot possibly be the least restrictive way to advance any compelling interest the State may

have in regulating political advertising by foreign government-influenced entities. Imposing a

prior restraint on speech is not a narrowly tailored solution to the problem the Act identifies. It is

less restrictive to punish a specific utterance that is found after the fact to have been illegal than

to impose more general restraints on speech in advance of its being uttered.




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       It is also a problem for the narrow tailoring analysis that the Act is doomed to do little to

address the problem it purports to solve. Foreign actors are well known to use social media sites

like Facebook, Tik Tok, Twitter, and Instagram to influence American politics, but those

platforms cannot be regulated by Maine pursuant to Section 230(c) of the Communications

Decency Act of 1996. See Backpage.com, LLC v. Dart, 807 F.3d 229, 233 (7th Cir. 2015) (“No

provider or user of an interactive computer service shall be treated as the publisher or speaker of

any information provided by another information content provider.”) (quoting 47 U.S.C.

§ 230(c)(1)). And the Act contains numerous other loopholes. What about books, billboards,

signs, leaflets, parades, speeches, mass gatherings, or other expressive activities by foreign-

government influenced entities? If Maine has a compelling interest in shutting down political

speech by such entities, it would presumably need to regulate these activities too.

       The Media Plaintiffs are unaware of any law anywhere that imposes open-ended and

onerous due diligence obligations on news organizations likes the ones subsection 7 appears to

create. That is not “conclusive” of the Act’s constitutionality, but practices in other jurisdictions

are “probative of the weight to be assigned [to Maine’s] asserted interests and the extent to which

the prohibition in question is necessary to further them.” Butterworth v. Smith, 494 U.S. 624, 635

(1990). An instructive comparison is to 47 U.S.C. § 317, which imposes a sponsorship disclosure

obligation on broadcasters (not print media or websites). The statute “requires radio broadcasters

to announce who ‘paid for or furnished’ a sponsored program at the time of the program,” and

that “‘[t]he licensee of each radio station . . . exercise reasonable diligence to obtain from its

employees, and from other persons with whom it deals directly in connection with any program

or program matter for broadcast, information to enable such licensee to make the announcement




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required by this section.” Nat’l Ass’n of Broadcasters v. Fed. Commc’ns Comm’n, 39 F.4th 817,

818–19 (D.C. Cir. 2022) (quoting 47 U.S.C. §§ 317(a), (c)) (emphasis added).

       Under section 317(c) the FCC sought to require that broadcasters tell program sponsors

who lease airtime from the station about the disclosure requirement; ask the sponsor whether

they are a foreign governmental entity or an agent of one; and then “[i]ndependently confirm the

sponsor’s status . . . by checking the Department of Justice’s Foreign Agents Registration Act

website and the FCC’s U.S.-based foreign media outlets reports” and “[d]ocument those

inquiries and investigations.” Nat’l Ass’n of Broadcasters, 39 F.4th at 819. The D.C. Circuit did

not reach the broadcasters’ First Amendment challenge to the “independently confirm the

sponsor’s status” requirement, because it found that the statute only required a broadcaster to

obtain information “from its employees, and from other persons with whom it deals directly,”

and that an FCC rule requiring broadcasters to “independently confirm the sponsor’s status” by

checking the DOJ website was not authorized by the statute. Id. at 819–20. While the court did

not reach the First Amendment issue, the point for present purposes is that the “exercise

reasonable diligence” requirement—to check a federal website and an FCC report and to

document having done so—is far more specific and less onerous than the “due diligence policies,

procedures and controls” requirement here. See, e.g., Nat’l Org. for Marriage v. Daluz, 654 F.3d

115, 118 (1st Cir. 2011) (upholding disclosure requirements that “impose no great burden on the

exercise of election-related speech,” because “[a]ll that is required is the completion of a one-

page form, which can be filled out and submitted . . . online.”).

       Another reason subsection 7 is not narrowly tailored to a compelling governmental

interest is the likelihood that it would have a substantial chilling effect on political speech.

“Narrow tailoring is crucial where First Amendment activity is chilled—even if indirectly—



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[b]ecause First Amendment freedoms need breathing space to survive.” Americans for

Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2384 (2021) (quotation marks omitted). In an

earlier decision interpreting the statute at issue in National Association of Broadcasters the D.C.

Circuit raised questions about the constitutionality of saddling news organizations with even the

much narrower and less burdensome requirement at issue there based on its potential chilling

effect. In Loveday v. F.C.C., 707 F.2d 1443 (D.C. Cir. 1983), the Court agreed with the FCC,

based on the language of the statute, its legislative history, and deference to the agency, that the

phrase “exercise reasonable diligence” did not require “the exertion of every effort by licensees

to identify the real sponsors of paid material that is broadcast.” Id. at 1448–49. But the court also

noted the potential constitutional problems with requiring a more comprehensive investigation:

       [W]e have grave doubts that the Commission could, in circumstances like these,
       require more of the licensees than it did in this case. A duty to undertake an
       arduous investigation ought not casually be assigned to broadcasters. A variety of
       considerations, ranging from practical ones of administrative feasibility to legal
       ones involving constitutional difficulties, support that view.

Id. at 1449.

       The court explained that requiring the broadcasters to conduct a full-scale investigation,

as subsection 7 appears to require here, “would be to create an administrative quagmire, to

establish standards so variable as to invite abuse, and to raise possible constitutional questions.”

Id. at 1457. One problem with requiring news outlets to do the government’s investigative and

enforcement work for it is that news outlets “are not grand juries,” and “[h]ave no power to

subpoena documents or to compel the attendance of witnesses.” Id. And even if the subjects of

the investigation voluntarily cooperated, “the result would be to judicialize the process of being

allowed to utter a political statement.” Id. In the absence of cooperation, “the alternative would

be a field investigation by agents of the stations, involving requests for documents and



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interviews and, perhaps, observation of suspected persons.” Id. “[T]he burden, expense, and

delay would be considerable and in many cases possibly prohibitive.” Id. The upshot, the D.C.

Circuit observed, would be “to turn broadcasters into private detectives.” Id. “Equally

problematic,” the Court noted, would be “the question of fairness to the [broadcasters], who

would have to guess in every situation what the Commission would later find to be ‘reasonable

diligence.’” Id. (also noting “the opportunities for abuse that such a variable and unknown

standard would present should some future Commission use its powers for political purposes.”).

       In the face of these uncertain but seemingly extensive obligations, the D.C Circuit

declared, “the most likely result would be that many stations, in lieu of incurring the expense of

the investigation and the risk that the Commission would later assess their duties differently,

would try . . . to avoid carrying advertisements of the type involved here.” Id. at 1458. That is

exactly what may happen if enforcement of subsection 7 is not enjoined. See Jalbert Dec. ¶¶ 12;

Meyer Decl. ¶ 33; Moore Decl. ¶ 30; Spencer Decl. ¶ 34. Stating the obvious, the court

concluded that it was “not prepared to say that the public would be benefited from a decline in

the number and variety of political messages it receives.” Loveday, 707 F.2d at 1458.

       Loveday was not decided on First Amendment grounds, but the concerns the Court

expressed have direct relevance here. The FCC has recognized as much, stating in a post-

Loveday decision that in order to “balance the ‘reasonable diligence’ obligations of broadcasters

in identifying the sponsor of an advertisement with the sensitive First Amendment interests

present,” unless a broadcaster is “furnished with credible, unrefuted evidence that a sponsor is

acting at the direction of a third party, the broadcaster may rely on the plausible assurances of the

person(s) paying for the time that they are the true sponsor.” 29 FCC Rcd. 10427 (2014) (citing

Loveday, 707 F.2d at 1459). The free speech concerns are even stronger here given that the Act



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covers the press and the internet, not over-the-air broadcasting where available frequencies (and

thus platforms) are limited.3

        The concerns the D.C. Circuit articulated in Loveday about the chilling effect of making

the news media a law enforcement arm of the government resurface in Washington Post v.

McManus, 944 F.3d 506 (4th Cir. 2019). A Maryland statute required “online platforms” to post

certain information about political ads they run (the identity of individuals exercising control

over the advertiser and the amount paid) and to retain records that the state could review on

request.4 Id. at 511–12. The Court observed:

        Maryland’s law is different in kind from customary campaign finance regulations
        because the Act burdens platforms rather than political actors. So when “People
        for Jennifer Smith” want to place an online campaign advertisement with the
        Carroll County Times, it is the County Times that has to shoulder the bulk of the
        disclosure and recordkeeping obligations created by the sections of the Act
        challenged here.

Id. at 515. The same is true here: subsection 7 makes news outlets responsible for investigating

and enforcing the law against campaign spending by foreign-government influenced entities. As

the Fourth Circuit noted, “’[t]he platform-oriented structure poses First Amendment problems of

its own.” Id. In particular, a law that imposes burdens on news outlets “makes certain political

speech more expensive to host than other speech because compliance costs attach to the former


3
  See McManus, 944 F.3d at 519 (“[B]ecause broadcast licensees are given a federal grant to operate one
of these limited channels, the Court has given the government wider latitude in regulating what is said on
them. This justification, however, is inapposite for the virtually limitless canvas of the internet.”) (citation
omitted); see also Reno v. Am. C. L. Union, 521 U.S. 844, 868–69 (1997) (“[T]he vast democratic forums
of the Internet [have never] been subject to the type of government supervision and regulation that has
attended the broadcast industry.”).
4
  The central First Amendment problem in McManus was that the statute compelled political speech. See
944 F.3d at 514–15 (“Time and again, the Supreme Court has made clear that it makes little difference for
First Amendment purposes whether the government acts as censor or conductor,” because “the freedom
of speech includes both the right to speak freely and the right to refrain from speaking at all.”) (quoting
Janus v. Am. Fed’n of State, Cnty., & Mun. Emps. Council 31, 138 S. Ct. 2448, 2463 (2018)). Subsection
7 also compels political speech when it requires that, upon discovering a violation of the Act, an “Internet
platform shall immediately remove the communication and notify the commission.” Subsection 7 is
unconstitutional for this additional reason.

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and not to the latter.” Id. at 516. “Accordingly, when election related political speech brings in

less cash or carries more obligations than all the other advertising options, there is much less

reason for platforms to host such speech.” Id.

        The news outlets in McManus argued that to comply with the statute’s disclosure and

record-keeping requirements “they would have to acquire new software for data collection;

publish additional web pages; and disclose proprietary pricing models.” 944 F.3d at 516. The

Fourth Circuit reasoned that “platform-based campaign finance regulations create freestanding

legal liabilities and compliance burdens that independently deter hosting political speech,” and

that, “[f]aced with this headache, there is good reason to suspect many platforms would simply

conclude: Why bother?” 5 Id.; see Jalbert Dec. ¶¶ 12; Meyer Decl. ¶ 33; Moore Decl. ¶ 30;

Spencer Decl. ¶ 34. See also Miami Herald Pub. Co. v. Tornillo, 418 U.S. 241, 257 (1974)

(“Faced with the penalties that would accrue to any newspaper that published news or

commentary arguably within the reach of the right-of-access statute, editors might well conclude

that the safe course is to avoid controversy,” in which case “political and electoral coverage

would be blunted or reduced.”).

        The burden subsection 7 imposes on news outlets—and thus the chilling effect on

political speech—would be far greater than in McManus. It is bad enough for news organizations

to have to “acquire new software for data collection; publish additional web pages; and disclose

proprietary pricing models” (944 F.3d at 516)—but it would be exponentially worse to require

them to conduct global investigations to attempt to ensure that every entity that owns as little as

five percent of a prospective political advertiser—or even just “indirectly participates in the


5
 Campaign finance rules imposed on direct participants in the political process, as opposed to news
outlets, have less of a deterrent effect, the court explained, because “[p]olitical groups, by design, have an
organic desire to succeed at the ballot box. And this ambition generally offsets, at least in part, whatever
burdens are posed” by campaign finance laws. McManus, 944 F.3d at 516.

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decision-making process” of a prospective advertiser—cannot be traced back to a foreign

government. Unless an advertiser wears its foreign government ownership on its sleeve, this

would be a massive undertaking. The legal liability and compliance “headache” identified by the

court in McManus would be far more severe here.

       Whether or not there is a compelling governmental interest in banning spending by

foreign government-influenced entities to influence Maine elections, the Act may be

unconstitutionally overbroad in that Maine sets a very low threshold for when an entity is

deemed to be “foreign government-influenced.” See Hightower v. City of Bos., 693 F.3d 61, 81

(1st Cir. 2012) (“[A] law may be invalidated under the First Amendment as overbroad if a

substantial number of its applications are unconstitutional . . . .”) (quotation marks omitted). If

the Act’s prohibitions on political advertising are found to be unconstitutional, then requiring

news outlets to enforce those prohibitions would be unconstitutional for the same reasons.

       In sum, subsection 7 is a content-based restriction on political speech that is not narrowly

tailored or the least restrictive means of achieving a compelling governmental interest. It is

therefore unconstitutional.

       C. Subsection 7 imposes an unconstitutional prior restraint.

       The requirement in subsection 7 that a news outlet “immediately remove” any political ad

that it “discovers” is in violation of the Act should be struck down for the additional reason that

requiring the immediate removal of political speech from the public sphere without due process

or procedural safeguards imposes an unconstitutional prior restraint. See Matter of Providence J.

Co., 820 F.2d at 1348 (When a “prior restraint impinges upon the right of the press to

communicate news and involves expression in the form of pure speech—speech not connected

with any conduct—the presumption of unconstitutionality is virtually insurmountable.”);



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Freedman, 380 U.S. at 58 (a prior restraint “avoids constitutional infirmity only if it takes place

under procedural safeguards designed to obviate the dangers of a censorship system”).

Subsection 7 is an unconstitutional prior restraint because it imposes a categorical ban on

political speech by certain advertisers in advance of their speaking and requires news outlets to

“immediately remove” political speech upon discovery without any procedural safeguards.

       D.      Subsection 8 is unconstitutional because it imposes liability without fault.

       Even if the Act were otherwise constitutional, the enforcement mechanism in subsection

8, which subjects news outlets to fines for violating the Act without any requirement that the

conduct be intentional or even negligent, is not. Under the First Amendment, news outlets cannot

be subject to liability without fault. In Smith v. People of the State of California, the Supreme

Court struck down an ordinance banning the sale of obscene books, reasoning that:

       By dispensing with any requirement of knowledge of the contents of the book on
       the part of the seller, the ordinance tends to impose a severe limitation on the
       public’s access to constitutionally protected matter. For if the bookseller is
       criminally liable without knowledge of the contents, and the ordinance fulfills its
       purpose, he will tend to restrict the books he sells to those he has inspected; and
       thus the State will have imposed a restriction upon the distribution of
       constitutionally protected as well as obscene literature.

361 U.S. 147, 153 (1959) (footnote omitted). The same problem exists here: if news outlets are

subject to penalties for running an ad that violates the Act without any requirement that they

knew the advertiser was foreign government-influenced (which subsection 8 does not require),

prudent news outlets may decide to limit the political ads they run to the point that some ads that

would have been permitted under the Act are censored. See Am. Patriot Express v. City of Glens

Falls, 474 F. Supp. 3d 508, 539 (N.D.N.Y. 2020) (“[A] knowledge requirement is necessary for

any sanctions provision that might chill speech.”); Am.-Arab Anti-Discrimination Comm. v. City

of Dearborn, 418 F.3d 600, 613 (6th Cir. 2005) (ordinance violated the First Amendment “by



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holding participants in a march . . . strictly liable if the march proceeds without a permit” even if

they did not know about the need for a permit.); Video Software Dealers Ass’n v. Webster, 968

F.2d 684, 690 (8th Cir. 1992) (“[W]e believe any statute that chills the exercise of First

Amendment rights must contain a knowledge element.”). Subsection 8 violates the First

Amendment because it holds news outlets liable for violating the Act even inadvertently, without

any degree of fault, which would unconstitutionally chill protected political speech.

   II.      The Other Preliminary Injunction Factors Support Granting the Motion.

         The irreparable harm requirement is met because the Media Plaintiffs are likely to

succeed on the merits, and “‘[t]he loss of First Amendment freedoms, for even minimal periods

of time, unquestionably constitutes irreparable injury.” Sindicato Puertorriqueno de

Trabajadores v. Fortuno, 699 F.3d 1, 10–11 (1st Cir. 2012) (quoting Elrod v. Burns, 427 U.S.

347, 373 (1976)). “Accordingly, irreparable injury is presumed upon a determination that the

movants are likely to prevail on their First Amendment claim.” Id. at 11. The Media Plaintiffs

will be irreparably injured if they are subjected to an unconstitutional statute that, as explained

above, violates their First Amendment rights and chills protected speech.

         The balance of harms factor also supports injunctive relief. Any harm to the State if it is

prevented from requiring the Media Plaintiffs to investigate and enforce the Act’s restrictions on

political advertising would be minimal, as the State is free to engage in its own investigation and

enforcement. And the public interest favors injunctive relief because First Amendment

protections for political speech exist to benefit not just news outlets, but the public generally.

                                          CONCLUSION

         Because the requirements for a preliminary injunction are met, the motion should be

granted.



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    Dated at Portland, Maine this 12th day of December, 2023.

                                         Respectfully Submitted,
                                         MAINE PRESS ASSOCIATION AND
                                         MAINE ASSOCIATION OF
                                         BROADCASTERS

                                         by their attorneys,
                                         PRETI FLAHERTY BELIVEAU &
                                         PACHIOS, LLP


                                         /s/ Sigmund D. Schutz
                                         Sigmund D. Schutz
                                         Benjamin S. Piper
                                         Jonathan G. Mermin
                                         Alexandra A. Harriman
                                         One City Center
                                         P. O. Box 9546
                                         Portland, ME 04112-9546
                                         (207) 791-3000
                                         sschutz@preti.com
                                         bpiper@preti.com
                                         jmermin@preti.com
                                         aharriman@preti.com




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